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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

UNITED STATES OF AMERICA, | Docket No. 0090 1:21CR00461-001
Plaintiff,
Vv. HONORABLE ROYCE C. LAMBERTH
DEVLYN THOMPSON,
DECLARATION OF JACK T. DONSON
Defendant.
STATEMENT OF EXPERTISE

 

1. I am the Co-Founder and Vice President of Prisonology LLC.
Prisonology provides Continuing Legal Education (CLE), consulting, and expert
testimony on matters concerning the Federal Bureau of Prisons (BOP). I have
testified in district courts across the country and the United Kingdom based on my
experience and knowledge about federal prison issues.

2, I have worked in the field of corrections for more than thirty-three
years, with twenty-three years in BOP security classification, correctional
programs, treatment and re-entry. Since retirement, I actively follow policy
initiatives and attend conferences, including the annual U.S. Sentencing
Commission Conference. I serve on the ABA and National Association of Criminal
Defense Lawyers’ (NACDL) Corrections Committees advising on prison issues
relative to the BOP. In my capacity (pro bono) as Director of Programs and Case
Management Services for FedCURE; I have had regular contact with BOP central
office administrators regarding inmate and policy issues.

3, During my career, I managed a caseload of approximately 150 inmates

as a Correctional Treatment Specialist. In that capacity, I was responsible for the

 
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development and monitoring of inmate correctional treatment plans, inmate
counseling, security classification, program placement and re-entry. I held
assignments as a Case Management Coordinator (CMC) and Correctional Programs
Officer (Unit Manager) and had many collateral administrative responsibilities
including training staff, writing local policy, conducting facility audits and
monitoring institutional programs including the screening of new designations. |
have experience working with Minimum (camp), Low, Medium, Administrative
(pre-trial and high security), and Witness Security populations. I have expertise
with the U.S. Parole process, DC Code offenders and BOP sentence computations.
Prior to employment with the federal government, | was employed in the
Commonwealth of Pennsylvania as a Probation and Parole Officer.

4, I hold a bachelor’s degree in Sociology/Anthropology and a Master of
Science Degree in Criminal Justice. Aside from consulting, I have been a Lecturer
at Marywood University where I taught several Criminal Justice courses including
a course entitled The American Prison. A true and correct copy of my curriculum
vitae is attached, I have personal knowledge of the facts stated herein and can testify
competently thereto if called as a witness in this matter.

CASE EVALUATION

5. Prisonology was retained by the law office of Elizabeth Kelley on
behalf of her client, Devlyn Thompson (Mr. Thompson), to evaluate court records
from a correctional treatment perspective and provide information for sentencing.
I will lay out a realistic context regarding the challenges a person diagnosed with
autism spectrum disorder (ASD) endures in a controlled prison environment and
provide the court with information for a practical judicial recommendation to best
address his unique circumstances should a term of incarceration be imposed. I have
reviewed the pre-sentence report, plea agreement, and mental evaluation submitted

by Dr. Laurie Sperry, Ph.D.

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CLASSIFICATION (BRAVO)

6. The BOP classifies facilities into several categories including
Minimum (Camp), Low and Medium Federal Correctional Institutions (FCD
(Federal Correctional Institutions) and High Security (USP or US Penitentiaries).
There are also administrative facilities such as Metropolitan Correctional Centers
(MCC), Metropolitan Detention Centers (MDC/FDC) and Federal Medical Centers
(FMC) which house all security levels.

7. After sentencing, defendants are assigned a security classification with
a system referred to as the BRAVO (Bureau Risk Assessment Verification and
Observation) system to determine the appropriate degree of control and supervision
required for facility designation. Some of the factors used in the classification
system include age, history of violence and/or escape, criminal history score and
severity of the instant offense. Each factor has a corresponding point value when
totaled determine a security level. The three most important considerations in the
selection of the designated facility are the security classification, physical/mental
health and correctional program needs. Below is the chart from the BOP

classification manual (CPD/CPB, Number P5100.08, Inmate Security Designation

 

and Custody Classification):

 
 
         

 

 

 

 

 

 

 

 

 

MINIMUM 0-11 Points 0-15 Points
LOW 12-15 Points 16-30 Points
MEDIUM 16-23 Points N/A
HIGH 24 + Points 31 + Points
8. Points alone do not determine the security level as the classification

manual also includes what are referred to as “Public Safety Factors” (PSF’s)
which can override the security scoring to determine a higher security

classification.

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9. Based on my professional opinion, Mr. Thompson will be
classified as Low security with twelve (12) security classification points. He will
likely be assigned two public safety factors including a “Greatest Severity
Offense” and a “Threat to Government Officials.” While the Greatest Severity
Offense PSF is mandatory due to the nature of the instant offense, the Threat to
Government Officials classification is at the discretion of the BOP with input
from the Secret Service (see exhibit one, BPA0-337- Inmate Load and Security
Designation worksheet). Even one PSF will preclude federal prison camp
placement unless it is waived by the BOP, which is very unlikely given the
agency’s conservative application of discretion and the high-profile nature of the
offense. This means that Mr. Thompson will serve any custodial term in a secure
federal prison with inmates who have more of a criminal history and orientation
including sex offenders, high level drug offenders and people serving sentences

longer than ten years.

10. The BOP attempts to designate a person within five hundred miles
of their legal residence (in Mr. Thompsons’ case, Seattle, WA) to facilitate
family visitation due to the positive impact it has on institutional adjustment. It
also reduces the burden of travel especially for elderly family members. While I
am unable to determine the exact facility designation for Mr. Thompson, the two
most likely FCI’s meeting his classification needs are FCI Terminal Island (San
Pedro, CA — 1,157 miles from Seattle) and FCI Lompoc (Lompoc, CA — 1,078
miles). The BOP has the discretion to place Mr. Thompson in FCI Sheridan,
however, it is a medium security facility which would be detrimental to his

safety.

11. An area of concern from the documentation reviewed from a
correctional treatment perspective which complicates the designation is ASD.

Doctor Laurie Sperry’s evaluation includes some profound observations when

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considered in the context of a correctional treatment environment. Aside from
the BOP having very limited programs specifically targeted to people on the
autism spectrum, the very nature of a secure prison setting involves many of the
elements in Dr. Sperry’s report which will place Mr. Thompson at a greater risk
to exploitation and likelihood of protective custody. The daily quality of life
challenges he will face in a secure prison environment has the potential to

provide for an excruciating existence.

12. Programming: The BOP publishes a National Programs Guide and
a more recent July, 2021, First Step Act Approved Programs Guide. A review of
both publications indicates there is only one reference to Autism. That reference
involves The Skills Program and is included in the more recent FSA publication.
The most relevant and telling statement from the guide exemplifies what Mr.
Thompson will face during a custodial term. When describing the Skills
Program, the BOP states inmates with autism spectrum disorder, “ are more
likely to be victimized and/or manipulated by more sophisticated inmates. As a
result, they may be placed in the special housing unit for their protection or may
have frequent misconduct reports because of their limited decision-making
skills.” It should be noted the only Low security Skills Program is in Danbury,

CT, a significant distance from Mr. Thompson’s residence in Seattle, WA.

13. Gullibility and vulnerability: FCI units ordinarily have one
correctional officer for approximately 150 inmates. It is very difficult to police
predatory behaviors given staffing limitations. It is not known how Mr.
Thompson would react to the institution sub-cultural norms including subtle
predatory behaviors like “friendly extortion”. From the very first day of arriving
at a BOP facility, inmates are informally vetted and asked to “show their papers”.
In a secure environment, this vetting behavior is to identify sex offenders referred

to as “Chomos” and cooperators referred to as “Rats”. It is these types of sub-

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cultural practices that are difficult to navigate even for a person without autism.
The BOP has recognized this disruptive practice and recently included a high
severity prohibitive act in the BOP disciplinary code “Requesting, demanding,
pressuring, or otherwise intentionally creating a situation, which causes an
inmate to produce or display his/her own court documents for any unauthorized
purpose to another inmate”. As indicated on page thirty-three of Dr. Sperry’s
report, I find credibility that a term of incarceration would pose what she refers to
as “the potential for a criminal apprenticeship leading to the likelihood of
recidivism because of the exposure to and acceptance of offending behavior

within the maladaptive world of the prison environment.”

14. Protective Custody: The potential for protective custody raises
another difficult issue because inmates who request protective custody are asked
to inform on the inmate perpetrator(s) which raises the possibility he will be
labeled as a “rat,” or informant. If he chooses not to inform on others, he wiil be
ordered out of the special housing unit or receive an incident report for refusing
population. Placement in the Special Housing Unit (SHU) requires 23 hours
lockdown with one hour of recreation at most, within a small caged in area. This
places mental stress on inmates and restricts programs as well as visiting
limitations. If staff determine there is a verifiable threat, he will remain in
protective custody for many weeks, usually months pending transfer. This vicious
cycle replays itself throughout the inmate’s term, most typically with sex offender
cases and cooperators. The BOP has also recognized this problem and has
developed “Re-integration Units” around the country to handle inmates who
perpetually are housed in administrative segregation due to repeated protective

custody.

15. Communication: In my role as a Correctional Treatment Specialist, |

often interfaced with inmates and understood how their personal characteristics

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influenced their ability to succeed in a prison environment. One of the most
challenging areas for any inmate is communication which can be problematic for
those who have Autism. Autistic individuals ordinarily do not possess the
communication skills necessary to navigate the prison environment. For instance,
failure to maintain eye contact, a common characteristic of Autism, can be
misinterpreted as evasiveness, deception or disrespect. This is not only an issue
for staff-to-inmate interactions but is extremely problematic for inmate-to-inmate
interactions. Dr. Sperry’s evaluation pointed to inherent behaviors such as
prolonged staring, fixation on objects, showering five times daily, rocking, head
banging and executive functioning deficits all of which can be problematic
behaviors in the secure prison environment. Communication between inmates
and staff is critical, particularly in emergency situations. Autistic individuals
commonly have processing delays and may need extra time to respond to
questions or instructions. They take things very literally and may not fully
understand instructions unless they are concise. The failure to immediately get on
the ground upon an order from staff or respond to a staff command in an
institutional emergency situation can result in being physically taken down and/or
make the individual subject to the disciplinary system for failure to comply. In
emergency situations, prison staff members may be unaware of an individual
inmate’s chronic mental disabilities, nor is it a priority in an institution

emergency.

16. Daily Living: Autistic individuals may experience sensitivity to loud
noises, bright lights, strong smells and do not like being touched. Federal prison
living environments are bright, noisy given the need for security and odorous,
because of the ability for inmates to cook with microwaves within the units. Male
and female correctional officers routinely pat search inmates throughout the

facility daily given security protocols. There is a loud public address (PA) system

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which makes announcements throughout the day such as paging inmates,
announcing activities and announcing controlled movements. Relative to peer
relationships, the BOP prison sub-culture includes the concept referred to by staff
and inmates as a “car” which means that inmates of similar interests and
circumstances travel the facility as a group seeking safety in numbers. This is
especially applicable to sex offenders who are the most persecuted in a prison
environment. Dr. Sperry’s report refers to the absence of interest in peers and
affiliation with others which can inhibit the car concept for a greater potential of
victimization as Mr. Thompson might choose to be alone rather than travel with a
group. The high-profile nature of the instant offense may also exacerbate
challenges from some elements in the inmate population who were opposed to the

instant offense.

CONCLUSION

17, Mr. Thompson faces unique and difficult challenges during
incarceration because the BOP classification policy requires placement in a
secure, federal correctional institution due to the severity of the instant offense
and associated public safety factor. A review of the BOP national programs
catalogue and website only refers to one program (SKILLS) as accommodating
people with ASD. However, that program is in Connecticut over three-thousand
miles from the family and it is not specifically designed for people with autism.
The characteristics of his diagnosis makes him highly susceptible to victimization
in the secure prison environment because of the inherent elements of the prison
sub-culture which may lead to manipulation, ostracization, protective custody
and even assault. It is likely Mr. Thompson will serve any term of incarceration
isolated far from his family in a higher security environment than is needed based
on his lack of a criminal history and orientation. His punishment will not only be

more intense and stressful than the court may realize, but there is also the

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potential for his indoctrination into the criminal sub-culture which Dr. Sperry
refers to as a “criminal apprenticeship”. If the court is inclined to support
counsel’s recommendation on sentencing, it should be aware Mr. Thompson
would be already past the statutory residential re-entry center eligibility of
twelve months and it would be practical for the court to provide a non-
binding judicial recommendation for the BOP to consider a direct
designation to a halfway house in the Seattle area. If a longer term of
incarceration is imposed, it would be practical for the court to strongly
recommend the BOP consider waiving the public safety factor to facilitate
placement in a minimum, prison camp environment where he would least
likely be victimized. It is also my professional opinion that the most logical
sentence from a correctional treatment perspective for treatment and/or targeted
program objectives would best be accomplished in the community with stringent

conditions of supervised release during a period of home detention.

I state under penalty of perjury that the foregoing is true and correct.

Dated: December 12, 2021

 

Jack T. Donson

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